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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

   v.
                                                       CR NO. 21-MJ-33
PETER J. HARDING,


   Defendant.


                               NOTICE OF APPEARANCE

        NOW COMES the United States of America, through undersigned counsel, and gives

notice that Raymond K. Woo, Assistant U.S. Attorney, hereby enters his appearance on behalf of

the United States.

                                                Respectfully submitted,

                                                MATTHEW M. GRAVES
                                                UNITED STATES ATTORNEY
                                                D.C. Bar No. 481052



Date: March 9, 2023                          By: __/s/ Raymond K. Woo__________
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                                 CERTIFICATE OF SERVICE

       On this 9th day of March, a copy of the foregoing was served on counsel of record for the
defendant via the Court’s Electronic Filing System.



Date: March 9, 2023                           By: __/s/ Raymond K. Woo_________
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